      Case: 3:19-cv-00133-NBB-RP Doc #: 31 Filed: 09/24/19 1 of 10 PageID #: 536



              IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF
                     MISSISSIPPI, OXFORD DIVISION
CLAUDIA LINARES, et al                                                                    PLAINTIFFS

vs.                                                                          NO. 3:19cv133-NBB-RP

CITY OF SOUTHAVEN, et al                                                               DEFENDANTS

  CITY OF SOUTHAVEN REPLY TO PLAINTIFFS’ MOTION RESPONSE DKT #24


        Defendant City acknowledges as did Defendant Durden and adopts all aspects of the

Durden Reply into and as part of the City’s Reply.

          A. ISMAEL LOPEZ HAD NO FEDERAL CIVIL RIGHTS AS ALLEGED

      Ismael Lopez had no Fourth or Fourteenth Amendment civil rights as alleged in the Complaint.

There is no jurisdiction based on the absence of any legally recognized relationship of Ismael Lopez

with the United States at the time of his death. In the alternative, there is no standing by either

Plaintiff due to the illegal alien status of Lopez at the time of his death in tandem with his insufficient

connections with the United States of the type, dignity, and caliber required for standing.

      Some constitutional civil rights are bestowed on aliens in the United States who entered with

a form of permission. Plaintiffs assert that Zadvydas v. Davis, 533 U.S. 678 (2001) held that the due

process clause of the “14th Amendment” may be invoked by all aliens in the United States whether

their presence on American soil is “unlawful, involuntary, or transitory.” Docket #24 page ID # 491.

This is error. Completely absent from Zadvydas is any mention of the Fourteenth Amendment. The

opinion reflects that “A statute permitting indefinite detention of an alien would raise a serious

constitutional problem. The Fifth Amendment’s Due Process Clause forbids the Government to

‘deprive any person ...of... liberty without due process of law.’ Freedom from imprisonment...lies at

the heart of the liberty that Clause protects.” Id at *690 at ¶¶ 3-4. Jurisdiction in Zadvydas was based

                                              Page 1 of 10
     Case: 3:19-cv-00133-NBB-RP Doc #: 31 Filed: 09/24/19 2 of 10 PageID #: 537



on habeas corpus rights of 28 U.S.C. § 2241( c )(3). Id at **2504, **2249. The Fifth Amendment

liberty interest of an illegal alien on American soil is an interest “between imprisonment and

supervision under release conditions that may not be violated.” Id at **2502. “A removable alien

does not have the same liberty interest as a citizen does.” Id at *717.

        Zadvydas cited Kaplan v. Tod, 267 U.S. 228, 230, 45 S. Ct. 257, 69 L. Ed. 585 (1925) which

is informative in it’s holding that despite nine years presence in the United States that an excluded

alien was “still in theory of law at the boundary line and had gained no foothold in the United

States.” Zadvydas at *693. Ismael Lopez was adjudicated excludable and deported. See Motion 1

Exhibit affidavit of Charlie Hill at docket #17-1 p.p. 6,15 Ismael Lopez birthplace Mexico, p.p. 8,

11 felony conviction assault in the 2nd degree, p.16 for probation violation, for arrest August 31, 2001

with adjudication as an excludable alien, present without permission, illegal entry, deported to

Mexico October 30, 2001, illegal entry arrest March 13, 2013, alien removal under section 212 and

237, 8 USC 1182 re-entry, deported to Mexico April 2, 2013, p.17 for illegal entry arrest April 5,

2013, adjudication of alien inadmissibility under section 212, reinstatement of deportation order, and

deportation,and Motion Exhibit 3 convictions. Ismael Lopez, like Zadvydas was “still in theory of

law at the boundary line and had gained no foothold in the United States.” Zadvydas at *693.

       Similarly inapposite is Plaintiffs citation of Plyler v. Doe, 457 U.S. 202, 102 S. Ct. 2382, 72

L. Ed. 2d 786 (1982) and it’s holding relative to a challenge to the denial of a free public education

by the State of Texas to undocumented school-age children “under the Equal Protection.” Id at *205.

Plyler v. Doe relied on precedent involving Fifth Amendment due process rights,6th Amendment

rights, or lawful alien presence. Id at *210 at ¶¶ 1-2. See Shaughnessy v. Mezei, 345 U.S. 206, 212,

73 S. Ct. 625, 629, 97 L. Ed. 956 (1953)(alien detained at the border denied entry as excluded alien).

Yick Wo v. Hopkins, 118 U.S. 356,6 S. Ct. 1064, 30 L.Ed. 220 (1886) (Fourteenth Amendment due


                                             Page 2 of 10
      Case: 3:19-cv-00133-NBB-RP Doc #: 31 Filed: 09/24/19 3 of 10 PageID #: 538



process protection to Chinese nationals lawfully present as “other persons” under 42 U.S.C. § 1983

by treaty). Wong Wing v. United States, 163 U.S. 228, 238, 16 S. Ct. 977, 981, 41 L. Ed. 140 (1896)

(lawful presence by treaty). Plyler v. Doe, 457 U.S. 202, 102 S. Ct. 2382, 72 L. Ed. 2d 786 (1982)

is limited by United States v. Verdugo-Urquidez, 494 U.S. 259, 110 S. Ct. 1056, 1058, 108 L. Ed.

2d 222 (1990). All cases listed in Plyler v. Doe relied on by Plaintiffs are discussed in Verdugo-

Urquidez at **1064 at ¶ 5. See Plyler v. Doe limited by Verdugo-Urquidez at p.1058, Wong Wing

at p.1064, and Yick Wo at p.1064.

       Plaintiffs finally argue Almeida-Sanchez v. United States, 413 U.S. 266, 93 S. Ct. 2535, 37 L.

Ed. 2d 596 (1973). The very first sentence of the opinion states “Petitioner, a Mexican citizen and

holder of a valid work permit, challenges the constitutionality of the Border Patrol’s warrantless

search of his automobile 25 air miles north of the Mexican border.” Ismael Lopez is not alleged in the

Complaint or response to have had a valid work permit or any permission to be in the United States.

See Motion Exhibit 1 at docket #17 documenting that Ismael Lopez was an illegal alien at the time

force was applied and had previously gone due process afforded by the court system and adjudicated

excludable. Plaintiffs’ quote from a dissent in Brinegar v. United States, 338 U.S. 160,*179, 69 S. Ct.

1302, 93 L.Ed.1879 is not relevant. Brinegar did not involve an alien but search of a bootlegger’s car.

       United States v. Verdugo-Urquidez, 494 U.S. 259, *265, 110 S. Ct. 1056,108 L.Ed. 2d 222

(1990) stated “‘the people’ protected by the Fourth Amendment, and by the First and Second

Amendments, and to whom rights and powers are reserved in the Ninth and Tenth Amendments,

refers to a class of persons who are part of a national community or who have otherwise developed

sufficient connection with this country to be considered part of that community.” See United States

ex rel. Turner v. Williams, 194 U.S. 279, 292, 24 S. Ct. 719, 723, 48 L. Ed. 979 (1904) for excludable

alien is not entitled to First Amendment rights, because “[h]e does not become one of the people to


                                            Page 3 of 10
      Case: 3:19-cv-00133-NBB-RP Doc #: 31 Filed: 09/24/19 4 of 10 PageID #: 539



whom these things are secured by our Constitution by an attempt to enter forbidden by law.” See

absence of substantial connections in Zaiden v. Trump,317 F.Supp.3d 8,*28 (D.D.C. June 13, 2018)

(citing Verdugo-Urquidez at 271). Ismael Lopez was not like Almeida-Sanchez who was the“holder

of a valid work permit” government permission to be present in the United States. Ismael Lopez was

like the “excludable alien” in United States ex rel. Turner v. Williams. As an excludable alien, Ismael

Lopez could not have become one of “the people” under the First and Fourth Amendments due to his

entry “forbidden by law.”

       Plaintiffs claim Defendants did not read United States v. Verdugo-Urquidez or it would have

been known the case involved an event in a “foreign country.” See docket #24 ¶ 2. Defendants’s briefs

stated at docket #18 page ID 354 ¶ 2 and at docket #20 at page ID# 464 ¶ 2 the following “In United

States v. Verdugo-Urquidez, 494 U.S. 259, 110 S. Ct. 1056, 108 L. Ed. 2d 222 (1990), the Supreme

Court addressed the question of the Fourth Amendment’s extraterritorial reach. The claim surrounded

a warrantless search of premises of a Mexican national in Mexico by United States DEA Agents

authorized by Mexican officials and was reviewed under a Fourth Amendment suppression motion.”

Clues that the case was represented for an event in a “foreign country” appear in the terms employed

of “extraterritorial” and “search of premises of a Mexican national in Mexico.”

           United States v. Verdugo-Urquidez is controlling and held that the Fourth Amendment

“extends its reach only to ‘the people,’”which “seems to have been a term of art employed in select

parts of the Constitution,” including the “Preamble, Article I, and the First, Second, Fourth, Ninth,

and Tenth Amendments.” Id. at 265, 110 S. Ct. 1056. The Court found this “textural exegesis” as

suggesting that “the people” in the Constitution “refers to a class of persons who are part of the

national community or who have otherwise developed sufficient connection with this country to be

considered a part of that community.”Id. Rejected was the Ninth Circuit’s former global application


                                            Page 4 of 10
      Case: 3:19-cv-00133-NBB-RP Doc #: 31 Filed: 09/24/19 5 of 10 PageID #: 540



of the Fourth Amendment. Id. at 274-75, 110 S. Ct. 1056. See United States v. Singh, 924 F. 3d

1030,*1056 (9th Cir. May 16, 2019) for “Nonimmigrant aliens, like those unlawfully present, are

neither citizens nor members of the political community.”

       The Verdugo-Urquidez opinion of no Fourth Amendment civil rights of illegal aliens is

applicable in light of the adjudication of Ismael Lopez as an excludable alien or as an illegal alien.

One author described Verdugo-Urquidez as “under the significant voluntary connections test, an

undocumented immigrant’s illegal residence in the United States vitiates any legitimate connections

the person may have with this country. The five reasons offered by the Guitterez I court for rejecting

the significance of all of Guitterez’s connections illuminate the court’s real basis for analysis: that

Guitterez was an undocumented immigrant and, therefore, could not have had a legitimate connection

to the United States. All of Guitterez’s examples of significant voluntary connections-his family ties,

his payment of taxes, his acquisition of a valid driver’s licence-were negated by his undocumented

presence in the United States. The court concludes as much in its summary:... At most, [Guitterez]

has established that he has been successful in avoiding detection by the immigration authorities,

thereby facilitating his residence in this country for the past twelve years.” (Emphasis added by

author). Victor C. Romero, The Fourth Amendment Rights of Undocumented Immigrants: On

Guitterez and the Tort/Immigration Law Parallel, 35 Harvard Civil Rights-Civil Liberties Law

Review 57, *72 (2000). See Lopez convictions for switched car tags docket# 17-1 p.35, no driver’s

license, no insurance, pp.25-29, D.U.I. conviction p. 11, and other convictions at docket #17-3.

       Plaintiffs conclude their response arguing as “errant path” any assertion of United States v.

Portillo-Munoz, 643 F. 3d 437 (5th Cir. 2011). Plaintiffs state that Defendants “fail to share with the

Court that Portillo-Munoz was a Second Amendment case.” Docket # 24 p. ID #42 ¶ 3. In contrast,

see Defendants’ briefs at docket# 18 last sentence of p. ID # 356 to first sentence of p. ID# 357 and


                                            Page 5 of 10
      Case: 3:19-cv-00133-NBB-RP Doc #: 31 Filed: 09/24/19 6 of 10 PageID #: 541



docket #20 p. ID# 466 at the last full paragraph which reflect “See the definition of ‘the people’ in

the context of the Second Amendment holding that an illegal alien in the United States has no Second

Amendment Constitutional right. United States v. Portillo-Munoz, 643 F. 3d 437, 440 (5th Cir. 2011).”

Clues that Defendants accurately represented Portillo-Munoz as a Second Amendment case are found

in use of the terms of “in the context of the Second Amendment” as well as “holding that an illegal

alien in the United States has no Second Amendment Constitutional right” and by inclusion in the

same sentence as “United States v. Portillo-Munoz, 643 F. 3d 437, 440 (5th Cir. 2011).”

       Like Verdugo-Urquidez, Portillo-Munoz has generated scholarly examination with one author

acknowledging that in Portillo-Munoz “the Fifth Circuit became the first federal court of appeals to

address the constitutionality of a federal statute that criminalizes an undocumented immigrant’s

possession of a firearm. Relying on Heller, a divided panel upheld the statute, concluding that

undocumented immigrants do not have Second Amendment rights because they are not among ‘the

people’ in the Second Amendment.” Recent Cases, Constitutional Law-Second Amendment-Fifth

Circuit Holds That Undocumented Immigrants Do Not Have Second Amendment Rights-United States

v. Portillo-Munoz, 643 F. 3d 437 (5th Cir. 2011), 125 Harvard Law Review 835 (2012)(citing District

of Columbia v. Heller, 554 U.S. 570, 580 128 S. Ct. 2783, 171 L. Ed. 2d 637 (2008)).This

commentator agreed the Fifth Circuit “noted that neither the Supreme Court nor the Fifth Circuit has

held that undocumented immigrants possess Fourth Amendment rights, which also reside in ‘the

people.’” Id at 835 (emphasis in original).The critique was “This statement was unnecessary in light

of Heller,...because the court implied that undocumented immigrants may not have Fourth

Amendment rights when, in fact, that matter remains unresolved.” Id at 836. The comment examined

the Portillo-Munoz opinion by Fifth Circuit Judge Garwood who wrote that Heller provided guidance

about the meaning of “the people” in the Second Amendment as the right of “law-abiding, responsible


                                           Page 6 of 10
      Case: 3:19-cv-00133-NBB-RP Doc #: 31 Filed: 09/24/19 7 of 10 PageID #: 542



citizens.” The Court analyzed the Constitution’s other references to “the people” which were

determined to refer to “all members of the political community.” This invalidated the arguments of

Portillo-Munoz of having Second Amendment rights because undocumented immigrants were held

to not be “Americans, law-abiding citizens, or members of the political community.” Id at 837 (citing

Heller, 128 S. Ct. at 2790-91). Judge Garwood explained that in Verdugo-Urquidez the Supreme

Court “considered the Fourth Amendment’s scope and said ‘the people’ protected by the First,

Second, and Fourth Amendments ‘refers to a class of persons who are part of a national community

or who have otherwise developed sufficient connection with this country to be considered part of that

community.” Portillo-Munoz argued that he possessed a sufficient connection to the United States

because he had lived and worked in the country for eighteen months, paid rent, and helped financially

support others. The Fifth Circuit replied that neither the Supreme Court nor the Fifth Circuit had held

that the Fourth Amendment applies to “undocumented immigrants.” Id at 837. Portillo-Munoz refutes

the quote Plaintiffs made at docket #24 p. ID #492 on different purposes of the Second and the Fourth

Amendments as an assumption was used in the opinion for argument purposes. See Portillo-Munoz

at 440-441. The 2012 Harvard Law Review comment agreed that the 5th Circuit in Portillo-Munoz

relying on Heller and Verdugo-Urquidez “implied its view on an unresolved constitutional question.

This implied view might be quite consequential because an appellate court’s dicta are persuasive

within its circuit. As one district court said, ‘a federal district court is required to give great weight

to the pronouncements of its Court of Appeals, even [when] those pronouncements appear by way of

dicta.’ In short, dicta today can dictate outcomes tomorrow.” Id at 842. The Harvard Law Review

author directly refutes Plaintiffs’ claim that it is”beyond settled that the Plaintiffs are able to rely on

the Constitutional Protections of the Fourth and Fourteenth Amendments of the United States

Constitution.” See assertion at Docket#24 Response at p. ID# 490.


                                              Page 7 of 10
      Case: 3:19-cv-00133-NBB-RP Doc #: 31 Filed: 09/24/19 8 of 10 PageID #: 543



       District of Columbia v. Heller, 554 U.S. 570, 580 128 S. Ct. 2783, 171 L. Ed. 2d 637 (2008)

favorably cited Verdugo-Urquidez’s definition of “the people” as “aliens receive constitutional

protections when they have come within the territory of the United States and developed substantial

connections with this country.” “Portillo relies on Verdugo-Urquidez and argues that he has sufficient

connections with the United States to be included in this definition of ‘the people,’ but neither this

court nor the Supreme Court has held that the Fourth Amendment extends to a native and citizen of

another nation who entered and remained in the United States illegally.” Portillo-Munoz at 440.

        A subsequent Harvard Law Review article focused more on the history and meaning of “the

people” in the Constitution relative to it’s use by the Supreme Court in both Heller and Verdugo-

Urquidez in The Meaning of “The People” in the Constitution, 126 Harvard Law Review 1078

(February 2013). The writer described the aftermath of Heller and Verdugo-Urquidez as “Once

Verdugo-Urquidez articulated the ‘substantial connections’ test and used intratextualism, lower courts

followed suit. In 1995, the Ninth Circuit noted that the Fourth Amendment...protects a much narrower

class of individuals than [does] the Fifth Amendment, “which extends to all ‘persons.’” Id at *1081.

The author noted the criticism of the Heller majority opinion in dissent by Justice Stevens was that

“the ‘centerpiece’ of the Court’s argument was its claim ‘that the words ‘the people’...in the Second

Amendment must have the same meaning, and protect the same class of individuals, as...in the First

and Fourth Amendments’” Id at *1083. The commentator discussed Portillo-Munoz recognizing for

the Fifth Circuit that undocumented immigrants were not among “the people” of the Second

Amendment and that the Fifth Circuit opinion decided that a whole class of individuals was not

among “the people.” This class of people as a set of people, according to the writer, also implied that

no additional test was needed such as substantial connections in assessing the absence of the involved

civil rights if the involved individual was a member of the class of persons of undocumented


                                            Page 8 of 10
      Case: 3:19-cv-00133-NBB-RP Doc #: 31 Filed: 09/24/19 9 of 10 PageID #: 544



immigrants. The article quoted Portillo-Munoz, 643 F. 3d at 440 with recognition that “neither the

Supreme Court nor the Fifth Circuit had held that the Fourth Amendment applies to undocumented

immigrants.” Id at *1083, *1099 fn. 68. This author refutes Plaintiffs “beyond settled” claim on the

“Constitutional Protections of the Fourth and Fourteenth Amendments of the United States

Constitution.” Plaintiffs blindness to the law does not make Defendants arguing applicable law

sanctionable.

       The 2013 Harvard Law Review article characterizes Heller as “both narrowing the scope of

‘the people’ and extending this definition to other constitutional clauses” agreeing this view is

plausible and “it matters.” The comment explained this meant that “Heller’s reference to the political

community...might mean that various groups that had First and Fourth Amendment rights could lose

them...It could exclude minors, felons and noncitizens (whether lawful or not) from inclusion among

‘the people.’” The author noted that the only “scholar to address the issue in depth, Professor

Pratheepan Gulasekaram, wrote that Heller seems “intended to constrict the constitutional definition

of “the people.” Id at *1085-1086 citing Pratheepan Gulasekaram,“The People”of the Second

Amendment: Citizenship and the Right to Bear Arms, 85 N.Y.U.L. Rev. 1521, 1536 (2010). See also

Adam Winkler, Heller’s Catch-22, 56 UCLA L. Rev. 1551, *1563 n. 67 (2009) for “Heller

...suggested that ‘the people’ referred to in the Second Amendment should be treated the same as ‘the

people’ referred to in the First and Fourth Amendments.” The Fifth Circuit agreed in Portillo-Munoz,

643 F. 3d 437, at 440. There is no jurisdiction and no federal claim as a matter of law.

                       Respectfully submitted, this the 24th day of September, 2019.

                                              /s/ Katherine S. Kerby
                                              Katherine S. Kerby, MSB # 3584
                                              Attorney for Defendants




                                            Page 9 of 10
     Case: 3:19-cv-00133-NBB-RP Doc #: 31 Filed: 09/24/19 10 of 10 PageID #: 545




Of Counsel:
Kerby Law Firm, Post Office Box 551
Columbus, MS 39703
email: ksearcyk@bellsouth.net
fax: 662-328-9553; phone: 662-889-3733




                                CERTIFICATE OF SERVICE


        I hereby certify that I electronically filed the foregoing with the Clerk of the Court using the ECF

system which sent notification of such filing to all Counsel of record including Michael Carr, Esq., Murray

B. Wells, Esq., and Aaron A. Neglia, Esq.




                SO CERTIFIED, this the 24th day of September, 2019

                                                         s/ Katherine S. Kerby
                                                         KATHERINE S. KERBY




                                             Page 10 of 10
